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BEFORE: JOAN M. AZRACK                               DATE: 4/23/2025 (Brooklyn)
UNITED STATES DISTRICT JUDGE                              TIME: 10:10 AM (10 min)

                    CRIMINAL CAUSE FOR STATUS CONFERENCE
                                                                             FILED
DOCKET NO. 09-cr-522 (JMA)                                                   CLERK
                                                                       4/23/2025 11:49 am
DEFENDANT: Vincente Carillo Fuentes       DEF. #: 1
☒ Present ☐ Not present       ☒ Custody ☐Bail                          U.S. DISTRICT COURT
DEFENSE COUNSEL: Kenneth Montgomery                               EASTERN DISTRICT OF NEW YORK
☐ Federal Defender     ☒ CJA        ☐ Retained                         LONG ISLAND OFFICE


AUSA: Erik Paulsen, Katherine Onyshko, Miranda Gonzalez

INTERPRETER: Mario Michelena

PROBATION OFFICER/PRETRIAL:

COURT REPORTER: Nicole Sesta     COURTROOM DEPUTY: LMP

☒   Case Called.            ☒ Counsel present for all sides.
☐   All parties consent to appear telephonically.
☐   Initial Appearance and Arraignment held.
☐   Defendant waives public reading of the Indictment and enters a plea of not guilty.
☒   Waiver of speedy trial executed; time excluded from 4/23/2025 through 6/24/2025.
☐   Order setting conditions of release and bond entered.
☐   Permanent order of detention entered.
☐   Temporary order of detention entered.
      ☐ Detention hearing scheduled for .
☐ Bail hearing held. Disposition:
☒ Next court appearance scheduled on 6/24/2025 at 11:00 AM before Judge Azrack in
Courtroom 8D S of the Brooklyn Courthouse.

Defendant    ☐    Released on Bond      ☒   Remains in Custody.

OTHER:
